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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY



  COMMODITY FUTURES TRADING
  COMMISSION,
                                                     Civil Action No. 23-11808 (ESK)(EAP)
                         Plaintiff,

           v.                                              ORDER OF SPECIAL MASTER

  TRADERS GLOBAL GROUP INC., et al.,

                         Defendants.


 LINARES, J.

         This matter having been brought before the Special Master by way of a Letter Request to

 Stay Party Discovery (ECF No. 206) filed by Defendants Traders Global Group Inc., a New Jersey

 corporation, d/b/a “My Forex Funds,” Traders Global Group Inc., a Canadian business

 organization, and Murtuza Kazmi (“Defendants”); and Plaintiff Commodity Futures Trading

 Commission (“CFTC”) having filed a response (ECF No. 209); and the Special Master having held

 a status conference on July 29, 2024, and counsel for Plaintiff and counsel for Defendants

 appearing; and for the reasons set forth on the record during the status conference;

         IT IS on this 30th day of July, 2024,

         ORDERED that Defendants’ request to stay party discovery is DENIED.

         SO ORDERED.

                                                 __/s/ Jose L. Linares_______________________

                                                 Hon. Jose L. Linares, U.S.D.J. (Ret.)




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